Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 1 of 34
                                                           2 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 2 of 34
                                                           3 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 3 of 34
                                                           4 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 4 of 34
                                                           5 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 5 of 34
                                                           6 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 6 of 34
                                                           7 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 7 of 34
                                                           8 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 8 of 34
                                                           9 of 35
Case1:16-cv-09390-GHW
Case 1:16-cv-09390-GHW Document
                       Document123-43
                                141-38 Filed
                                       Filed10/11/19
                                             01/10/20 Page
                                                      Page10
                                                           9 of
                                                             of34
                                                                35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 10 of 34
                                                           11 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 11 of 34
                                                           12 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 12 of 34
                                                           13 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 13 of 34
                                                           14 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 14 of 34
                                                           15 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 15 of 34
                                                           16 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 16 of 34
                                                           17 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 17 of 34
                                                           18 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 18 of 34
                                                           19 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 19 of 34
                                                           20 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 20 of 34
                                                           21 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 21 of 34
                                                           22 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 22 of 34
                                                           23 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 23 of 34
                                                           24 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 24 of 34
                                                           25 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 25 of 34
                                                           26 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 26 of 34
                                                           27 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 27 of 34
                                                           28 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 28 of 34
                                                           29 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 29 of 34
                                                           30 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 30 of 34
                                                           31 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 31 of 34
                                                           32 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 32 of 34
                                                           33 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 33 of 34
                                                           34 of 35
Case 1:16-cv-09390-GHW Document
Case 1:16-cv-09390-GHW Document 141-38
                                123-43 Filed 01/10/20 Page
                                       Filed 10/11/19 Page 34 of 34
                                                           35 of 35
